Case 1:23-cr-00136-GLR Document1 Filed 04/18/23 Page 1 of 4

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LJW USAO# 2016R00133

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA CRIMINAL NO. (66LI2-a3- O | Ko
V. (Failure to File a Federal Return,
26 U.S.C. § 7203)
IAN RICHARD HAWES,
Defendant.

 

 

 

 

 

INFORMATION
The United States Attorney for the District of Maryland charges:

COUNT ]
(Failure to File a 2016 U.S. Individual Income Tax Return)

Relevant Persons and Entities

1. The Defendant Ian Richard HAWES (“HAWES”) was a self-employed software
developer who lived in Catonsville, Maryland.

De From 2014 to 2015, HAWES was employed as a software engineer doing web
development and information technology work.

3. In or about May 2016, HAWES created a web page for “americanhorizons.org.”
In or about June 2016, HAWES established and formally registered American Horizons as a
political action committee or “Super PAC” with the Federal Elections Commission (“FEC”).

4, On or about June 10, 2016, American Horizons filed a Form 8871, Political
Organization Notice of Section 527 Status, with the Internal Revenue Service (“IRS”). The Form

8871 listed HAWES as the Treasurer and contact for American Horizons.

 
Case 1:23-cr-00136-GLR Document1 Filed 04/18/23 Page 2 of 4

Solicitation of Political Contributions

5. Beginning in or about May 2016, American Horizons solicited political
contributions and advertised a chance to win dinner with a candidate for public office (hereinafter
the “Candidate”). Although the advertisements did not directly request donations, they indicated
that contestants could double their chances of winning by making a donation. Within three months,
American Horizons received over $1 million from approximately 20,000 donors.

6. On or about August 29, 2016, the Candidate’s campaign filed a disavowal notice
with the FEC stating that it was not associated with and had not received any money from
American Horizons. The same day, the Candidate’s campaign also sent American Horizons a
cease-and-desist letter accusing American Horizons of defrauding donors and offering a prize it
could not deliver.

7. HAWES filed a notice with the FEC on or about January 31, 2017 to terminate the
American Horizons PAC.

8. No winner was ever selected for the PAC’s advertised dinner contest.

Distribution of PAC Funds

9. With respect to the disbursement of PAC funds, none of the funds were sent to any
political campaigns, including the Candidate’s campaign.

10. | Refund payments to contributors were made totaling $36,773.

11. $443,619 of the PAC funds were paid to Facebook for advertising the PAC.

12. At least $375,337 of the PAC funds were used by HAWES to pay for a variety of
personal expenditures, including to pay off personal credit card debt and student loans, and to pay

for an engagement ring, a yacht rental to propose to his then-fiancée, wedding rings, vacations to
Case 1:23-cr-00136-GLR Document1 Filed 04/18/23 Page 3 of 4

Orlando, Miami, the Bahamas and Paris, France, a new Audi A6 and the down payment for a
personal residence.
Taxable Income

13. Wages totaling $38,780.00 were paid to HAWES from WebFirst, Inc., with
$7,599.00 in federal taxes withheld for tax year 2016. No other income-related payments to
HAWES were reported by third-party payers that tax year.

14. HAWES’ personal use of PAC funds in the amount of $375,337 and receipt of
$38,780.00 in wage income from WebFirst resulted in taxable income totaling $407,917 for tax
year 2016 and a resulting tax due and owing of $110,543.

15. HAWES failed to file a Form 1040, U.S. Individual Federal Income Tax Return,
with the IRS for tax year 2016, despite having filed Forms 1040 for tax years 2012 through 2015,
and filing joint Forms 1040 with his spouse for tax years 2017 through 2021. All of the returns
that were filed were self-prepared, filed electronically, and accepted by the IRS.

16. HAWES did file a Form 4868, Application for Automatic Extension of Time to
File U.S. Individual Income Tax Return, for the tax year 2016, but never filed the Form 1040. On

the 2016 Form 4868, Defendant estimated a total tax liability of $185,000.00.

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Case 1:23-cr-00136-GLR Document1 Filed 04/18/23 Page 4 of 4

The Charge

17. During calendar year 2016, the defendant,

IAN RICHARD HAWES,

who was a resident of Catonsville, Maryland, had and received gross income of at least $407,917.
By reason of such gross income, he was required by law, following the close of calendar year
2016, and on or before October 15, 2017, to make an income tax return to the Internal Revenue
Service Center, at Andover, Massachusetts, to a person assigned to receive returns at the local
office of the Internal Revenue Service at Baltimore, Maryland, or to another Internal Revenue
Service office permitted by the Commissioner of Internal Revenue, stating specifically the items
of his gross income and any deductions and credits to which he was entitled. Well knowing and
believing all of the foregoing, he did willfully fail, on or about October 15, 2017, in the District of

Maryland and elsewhere, to make an income tax return.

In violation of 26 U.S.C. § 7203.

Cuk L. Barron % (0

 

Erek L. Barron
United States Attorney

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Date

 

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